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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      IN ADMIRALTY

                               CASE NO.: 8:20-cv-00911-MSS-AAS

 IN RE:

 PETITION OF MAD TOYZ III, LLC, as titled
 owner of and for one 2018 38’ Statement 380 Open
 Motorboat bearing hull identification number
 STTEB112L718, her engines, tackle, and
 appurtenances, and

 JEFFRY KNIGHT, as owner pro hac vice of and for
 one 2018 38’ Statement 380 Open Motorboat
 bearing hull identification number STTEB112L718,
 her engines, tackle, and appurtenances, for
 Exoneration from or Limitation of Liability,

                   Petitioners.
 _____________________________________________/

                   RESPONDENT/CLAIMANT’S, ERWIN P. RUSLI,
     RULE F(5) CLAIM PERTAINING TO PETITIONERS’ AMENDED PETITION FOR
           EXONERATION FROM OR LIMITATION OF LIABILITY [D.E. 19]

     COMES NOW, Respondent/Claimant, ERWIN P. RUSLI, by and through the undersigned

 counsel, and pursuant to Supplemental Rule F(5) of the Federal Rules of Civil Procedure and Rule

 7.06 of Local Rules and files her Rule F(5) Claim Pertaining to Petitioners’ Amended Complaint

 for Exoneration from or Limitation Of Liability1 under the said Rules, and in support thereof states:

     1. Claimant, ERWIN P. RUSLI, hereby makes his claim for damages against Petitioners,

          PETITION OF MAD TOYZ III, LLC, and JEFFRY KNIGHT, pursuant to Supplemental

          Rule F(5) of the Federal Rules of Civil Procedure.



 1
   Claimant’s Rule F(5) Claim is without prejudice to the pending Motion to Dismiss [D.E. 19] and
 Claimant’s Joinder and Adoption of Claimants’ Motion to Dismiss [D.E. 42] as Claimant reaffirms
 that the subject Amended Petition for Exoneration from and Limitation of Liability is defective,
 untimely, and legally invalid.


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    2. Petitioner MAD TOYZ III, LLC is a limited liability company and at all pertinent times,

       acted by and through its manager, Petitioner, JEFFRY DAVID KNIGHT, who had

       control over said limited liability company. Said limited liability company was owned

       and operated through its manager, JEFFRY DAVID KNIGHT, a 37-foot 2018

       motorboat. (See Florida Division of Corporations Printout attached as ‘Exhibit A’.)

    3. On or about September 2, 2019, Petitioner JEFFRY DAVID KNIGHT negligently and

       in an imprudent and unreasonable manner, operated a 2018 motorboat at or near the Dick

       Misener Bridge in Pinellas County, in the State of Florida waterways, so that he collided

       with a 2019 pontoon boat in which ERWIN P. RUSLI was a passenger, causing him to

       be injured. Said negligence includes but is not limited to, the failure of Petitioner,

       JEFFRY DAVID KNIGHT, to keep a proper lookout, as well as carelessly operating said

       vessel at an excessive rate of speed, as well as the failure to have regard for other

       waterborne traffic including the vessel in which Respondent, ERWIN P. RUSLI, was a

       passenger at the time of the collision. Specifically, Petitioner, JEFFRY KNIGHT, was

       the operator of his vessel and violated Florida Statute §§ 327.33(2) and 327.33(3) as well

       as Rule 5, Rule 6, and Rule 7 of the International & U.S. Inland Navigational Rules

       codified as Federal law (also known as the Rules of the Road), including failing to keep

       a proper look out, failing to signal before overtaking the Rusli vessel, being inattentive,

       and operating the vessel in a careless manner, including taking his eyes off of his

       direction of travel by looking down at his GPS immediately prior to impacting the vessel

       in which Respondent, ERWIN P. RUSLI, was a passenger at the time of the collision.

       (See Sworn Statement of Jeffry Knight attached as ‘Exhibit B’)

    4. As a direct and proximate result of Petitioners’ failure to maintain and provide for safe




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        operation of their vessel and all other related negligent actions, ERWIN P. RUSLI was

        injured in and about his body and extremities, suffered aggravation of pre-existing

        conditions, suffered pain therefrom, suffered mental pain and suffering, incurred and will

        incur medical expenses in the treatment of his injuries, suffered physical handicap, his

        working ability and earning capacity, and his capacity to enjoy life were impaired and

        will be impaired, and suffered a permanent injury within a reasonable degree of medical

        probability, his injuries are permanent and continuing and the Claimant/Respondent,

        ERWIN P. RUSLI, will suffer losses and impairments in the future. Additionally,

        Claimant/Respondent suffered financial damages associated with property damage and

        severe and debilitating damages to his beloved dogs.

    5. Claimant contests Petitioners’ claim to exoneration from and/or to limitation of liability,

        on the grounds that, inter alia, Petitioner, JEFFRY DAVID KNIGHT, himself, and/or his

        crew were negligent and furthermore, Petitioners had privity with, and knowledge of, the

        event, defect, unseaworthiness, negligence, actions, inactions, etc., which caused

        Claimant’s injuries.

    6. Claimant reserves the right to present his claim for damages in the forum of his choice

        upon the Court denying Petitioners’ Amended Complaint for Exoneration and/or

        Limitation.

                                 CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this 16th
 day of July, 2020, on counsel or parties of record in the Service List below either via transmission
 of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

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 ERWIN P. RUSLI and Jacqueline Strehling




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